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                                IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF MINNESOTA

                             INITIAL APPEARANCE - REMOVAL
                                                    )       COURT MINUTES - CRIMINAL
United States of America,                           )             BEFORE: TONY N. LEUNG
                                                    )             U.S. MAGISTRATE JUDGE
                          Plaintiff,                )
v.                                                  )   Case No:               22-mj-734 TNL
                                                    )   Date:                  September 2, 2022
Ferid Junar Salah,                                  )   Courthouse:            Minneapolis
                                                    )   Courtroom:             9W
                          Defendant.                )   Time Commenced:        1:58 p.m.
                                                    )   Time Concluded:        2:02 p.m.
                                                    )   Time in Court:         4 minutes
                                                    )
                                                    )
APPEARANCES:

       Plaintiff: Nathan Nelson, Assistant U.S. Attorney
       Defendant: Shannon Elkins, Assistant Federal Public Defender
                       X FPD         X To be appointed

       X Advised of Rights

on   X Indictment

X Date charges or violation filed: 6/15/2022
X Current Offense: Felon in possession of a firearm; distribution of a controlled substance
X Charges from other District: District of North Dakota
X Title and Code of underlying offense from other District: 18:922(g)(1) and 924(a)(2)
X Case no: 3:22-cr-101

X Government moves for detention.
Motion is X granted, temporary detention ordered

Next appearance date is Wednesday, September 7, 2022 at 10:30 a.m. before U.S. Magistrate Judge Tony N.
Leung for:
X Detention hrg

X Removal hearing waived
X Removal Order to be issued


Additional Information:
X Oral Rule5(f) Brady notice read on the record.
                                                                                                    s/SAE
                                                                            Signature of Courtroom Deputy
